Case 2:04-CV-O2560-SHI\/|-tmp Document 25 Filed 07/06/05 Page ll of 2 Page|D 40

IN THE UNITED STATES DISTRICT COURT FOR THE W_E g~( __§|'le B.O,
WESTERN DISTRICT OF TENNESSEE

 

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MICHAEL ALLEN BROCK, US 'J“MCT OOIBT
(“ ‘ mtEM’!-B
Plaiotiff,
v. NO.: 04-2560 Ma P
CITY OF MEMPHIS, et al.,
Defendants.

 

ORDER GRANTING MO'I`ION FOR EXTENSION OF TIME
TO FILE DISPOSITIVE MOTION

 

For good cause shown, counsel shall have an additional fourteen (14) days, up to

and including July 15, 2005, Within which to file dispositive motions in the above cause.

IT is So 0RDERED THIS § DAY oF :S`\.J\_~E 2005.
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M;,Yig»t¢e=tz' JUDGE s,eMHEL-H-Mmls-JR~

\--M@i/\_Q»v\

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
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Honorable Samuel Mays
US DISTRICT COURT

